Case 2:20-cv-02691-MSN-atc Document 2 Filed 09/15/20 Page 1 of 2               PageID 93




                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


WOGAN GROUP LLC;
THE LENNOX COMPANIES, LLC;
APPLEWOOD PROPERTY MANAGEMENT, LLC;
TIGER LILY LLC;
HUNTER OAKS APARTMENTS UTAH, LLC;
NORTH 22ND FLAT, LLC;
CHERRY HILL GARDENS LLC;
CHURCHILL TOWNHOMES LLC;
DAVID AND REBECCA CORPORATION; and
BRITTANY RAILEY

       Plaintiffs

vs.                                                     No: 2:20-cv-2691


UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
and BENJAMIN S. CARSON, M.D. in his official capacity as United States Secretary of
Housing and Urban Development;
UNITED STATES DEPARTMENT OF JUSTICE
and WILLIAM P. BARR, in his official capacity as United States Attorney General;
UNITED STATES CENTER FOR DISEASE CONTROL AND PREVENTION
and NINA B. WITKOVSKY, in her official capacity as Acting Chief of Staff of the Center for
Disease Control and Prevention;
UNITED STATES DEPARTMENT OF HEALTH & HUMAN SERVICES
and ALEX AZAR, in his official capacity as United States Secretary of Health and Human
Services;
VICE ADMIRAL JEROME M. ADAMS, M.D., in his official capacity as United States
Surgeon General; and
D. MICHAEL DUNAVANT, in his official capacity as United States Attorney General for the
Western District of Tennessee

       Defendants.




                           RULE 41 NOTICE OF DISMISSAL
Case 2:20-cv-02691-MSN-atc Document 2 Filed 09/15/20 Page 2 of 2                       PageID 94




       Pursuant to Fed. R. Civ. P. 41(a), Plaintiffs hereby notify this Honorable Court and

parties that they voluntarily dismiss, without prejudice, by non-suit, all claims they have asserted

herein against Defendants.

       All costs are assessed against Plaintiffs.



                                                      Respectfully Submitted,

                                                      GLANKLER BROWN, PLLC

                                                      /s/ S. Joshua Kahane
                                                      S. Joshua Kahane (BPR #23726)
                                                      jkahane@glankler.com
                                                      Aubrey B. Greer (BPR #35613)
                                                      agreer@glankler.com
                                                      6000 Poplar Avenue, Suite 400
                                                      Memphis, Tennessee 38119
                                                      Telephone: (901) 525-1322
                                                      Facsimile: (901) 525-2389


                                                      Attorneys for Plaintiffs
